     Case 2:13-cr-06070-SAB    ECF No. 82     filed 03/26/24   PageID.301         Page 1 of 2
                                                                           FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON

 1
                                                                  Mar 26, 2024
 2                                                                    SEAN F. MCAVOY, CLERK


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 4
 5                        UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,
 9                            Plaintiff,          No. 2:13-CR-06070-SAB-1
10         v.
11 KENNETH RICHARD ROWELL,                        ORDER RE: SUPERVISED
                                                  RELEASE VIOLATION
12                            Defendant.          HEARING
13
14         A supervised release revocation hearing in the above-captioned case was
15 held on March 26, 2024 in Yakima, Washington. The Government was represented
16 by Todd Swensen on behalf of Earl A. Hicks. Defendant was present, out of
17 custody, and represented by Juliana Van Wingerden.
18         At the hearing, Defendant admitted to alleged Violation Nos. 1 – 7 and the
19 Court found those violations committed. For the reasons stated on the record, the
20 Court declined to accept the parties’ joint recommendation of holding the sanctions
21 in abeyance and continued Defendant on their current term of supervised release.
22 This Order memorializes the Court’s oral rulings.
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     ORDER RE: SUPERVISED RELEASE VIOLATION HEARING # 1
     Case 2:13-cr-06070-SAB    ECF No. 82   filed 03/26/24   PageID.302   Page 2 of 2



1          Accordingly, IT IS HEREBY ORDERED:
2          1.   Violation Nos. 1 – 7 are COMMITTED.
3          2.   The Court continues Defendant on his current term of supervised
4 release.
5          IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
6 this Order and provide copies to counsel and U.S. Probation.
7          DATED this 26th day of March 2024.
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13                                  Stanley A. Bastian
                              Chief United States District Judge
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     ORDER RE: SUPERVISED RELEASE VIOLATION HEARING # 2
